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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

          v.                             Criminal No. 12-cr-11-(1-10)JL

Bellavance et al

                                O R D E R


     The assented to motion to reschedule jury trial (document no.

93) filed by defendant Braeden Bellavance is granted in part, to be

scheduled on the January trial calendar. The parties and counsel

should not anticipate further continuances unless the delays in

producing discovery continue.       Final Pretrial is rescheduled to

January 2, 2013 at 10:00am; Trial is continued as to all defendants

to the two-week period beginning January 8, 2013, 9:30 a.m. In

addition to various filing deadlines contained in the local rules,

the parties shall also file any in limine motions no later than ten

(10) days prior to the final pretrial conference.             Objections to

motions in limine shall be filed no later than three (3) days prior

to the final pretrial conference.

     Defendant Bellavance shall file a waiver of speedy trial rights

within 10 days.    The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.
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     SO ORDERED.
                                           ___________________________
                                           Joseph N. Laplante
                                           Chief Judge

Date:    October 22, 2012

cc:
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